                            Case 5:22-cv-00680-SSS-SP Document 52-5 Filed 11/21/22 Page 1 of 3 Page ID #:504



                                                 1    BUCHALTER
                                                      A Professional Corporation
                                                 2    VINCENT R. WHITTAKER (SBN: 214007)
                                                      SKYE L. DALEY (SBN: 284592)
                                                 3    MARISSA C. MARXEN (SBN: 300095)
                                                      655 West Broadway, Suite 1600
                                                 4    San Diego, CA 92101
                                                      Telephone: 619.219.5335
                                                 5    Email: vwhittaker@buchalter.com
                                                      Email: sdaley@buchalter.com
                                                 6    Email: mgiacomelli@buchalter.com
                                                 7    Attorneys for Plaintiffs
                                                      Sarah Gagan, Claire Gagan and Halo’s Heart, LLC
                                                 8
                                                 9                          UNITED STATES DISTRICT COURT
                                         10                               CENTRAL DISTRICT OF CALIFORNIA
                                         11
                                         12 SARAH GAGAN, an individual,                            Case No. 5:22-cv-00680-SSS-SP
                                            CLAIRE GAGAN, an individual, and                       Hon. Sunshine S. Sykes
                                         13 HALO’S HEART, LLC, a California
                                            Limited Liability Company,                             PROOF OF SERVICE
                                         14
                                                         Plaintiffs,
                                         15
                                                  v.
                                         16
                                            MARC ANTOINE GAGNON, an
                                         17 individual; MEGGIE ROY, an individual,
                                         18                          Defendants.
                                         19
                                         20
                                         21                  I am employed in the County of San Diego, State of California. I am over the
                                         22 age of 18 and not a party to the within action. My business address is at
                                         23 BUCHALTER, A Professional Corporation, 655 West Broadway, Ste. 1600, San
                                         24 Diego, CA 92101.
                                         25                  On the date set forth below, I served the foregoing document described as:
                                         26                  1. PLAINTIFF HALO’S HEART, LLC’S NOTICE OF MOTION
                                         27 PRELIMINARY INJUNCTION; MEMORANDUM OF POINTS AND
                                         28 AUTHORITIES IN SUPPORT THEREOF.
          BUCHALTER
A P R O F E S SI O N A L C O R P O R A T I O N
               S AN D I EGO
                                                      APPLICATION FOR PRELIMINARY INJUNCTION
                                                     BN 73634056v1
                            Case 5:22-cv-00680-SSS-SP Document 52-5 Filed 11/21/22 Page 2 of 3 Page ID #:505



                                                 1           2. DECLARATION OF SKYE L. DALEY, ESQ. FILED IN SUPPORT OF
                                                 2 MOTION FOR PRELIMINARY INJUNCTION
                                                 3           3. DECLARATION OF VINCENT R. WHITTAKER, ESQ. FILED IN
                                                 4 SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                 5           4. DECLARATION OF SARAH GAGAN FILED IN SUPPORT OF
                                                 6 MOTION FOR PRELIMINARY INJUNCTION
                                                 7           5. [PROPOSED] ORDER ENJOINING DEFENDANTS MARC ANTOINE
                                                 8 GAGNON AND MEGGIE ROY
                                                 9 on all other parties and/or their attorney(s) of record to this action:
                                         10
                                         11           Brian S. Harnick, Esq.                      Attorneys for Defendants/Cross-
                                                      Mary E. Gilstrap, Esq..                     Complainant
                                         12           Andrew G. Montez, Esq.
                                         13           ROEMER & HARNIK LLP
                                                      45-025 Manitou Drive
                                         14           Indian Wells, California 92210
                                         15           Telephone (760) 360-2400
                                                      Facsimile (760) 360-1211
                                         16
                                         17           Emails:
                                                      bharnik@rhlawfirm.com
                                         18           mgilstrap@rhlawfirm.com
                                         19           amontez@rhlawfirm.com

                                         20
                                         21                BY MAIL I am readily familiar with the business’ practice for collection
                                                     and processing of correspondence for mailing with the United States Postal
                                         22          Service. The address(es) shown above is(are) the same as shown on the envelope.
                                         23          The envelope was placed for deposit in the United States Postal Service at
                                                     Buchalter in Irvine, California on November , 2022. The envelope was sealed
                                         24          and placed for collection and mailing with first-class prepaid postage on this date
                                         25          following ordinary business practices.

                                         26       BY EMAIL On November 17, 2022, I caused the above-referenced
                                         27 document(s) to be sent in electronic PDF format as an attachment to an email
                                            addressed to the person(s) on whom such document(s) is/are to be served at the
                                         28
          BUCHALTER
A P R O F E S SI O N A L C O R P O R A T I O N
               S AN D I EGO
                                                                                                -2-
                                                                              APPLICATION FOR PRELIMINARY INJUNCTION
                                                     BN 73634056v1
                         Case 5:22-cv-00680-SSS-SP Document 52-5 Filed 11/21/22 Page 3 of 3 Page ID #:506



                                            1 email address(es) shown herein, as last given by that person(s) or as obtained from
                                            2 an internet website(s) relating to such person(s), and I did not receive an email
                                              response upon sending such email indicating that such email was not delivered.
                                            3
                                            4        BY ECF On November , 2022, I filed the above-referenced document(s)
                                              electronically through the CM/ECF system, causing the document(s) to be served
                                            5 by electronic means, as more fully reflected on the Notice of Electronic Filing.
                                            6
                                            7        I declare under penalty of perjury under the laws of the United States of
                                                America that the foregoing is true and correct to the best of my knowledge.
                                            8
                                            9           Executed on November 1, 2022, at San Diego, California
                                     10
                                     11                                                         ________________________
                                                                                                     Lupe Felix
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         BUCHALTER
A P R OF E S SIO N A L C O RP O RA T I ON
             S A N D I EGO
                                                                                          -3-
                                                                        APPLICATION FOR PRELIMINARY INJUNCTION
                                                BN 73634056v1
